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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

KENNETH LUMAN, et al.,
          Plaintiffs,
v.                                                        No. CV 20-200 MIS/CG

BALBACH TRANSPORT, INC., et al.,
           Defendants,
__________________________

LUIS TREJO, et al.,
           Third-Party Plaintiffs,
v.
KENNETH LUMAN, et al.,
           Third-Party Defendants,
__________________________

BALBACH TRANSPORT, INC.,
          Counterclaimant,
v.
KENNETH LUMAN, et al.,
           Counter-Defendants,
__________________________

LUIS TREJO,
           Third-party Plaintiff,
v.
KENNETH LUMAN, et al.,
           Third-party Defendants,
__________________________

LUIS TREJO,
           Counterclaimant,
v.
GREENWOOD MOTOR LINES, INC., et al.,
        Counter-Defendants.

   ORDER SETTING TELEPHONIC PRE-SETTLEMENT STATUS CONFERENCE

      THIS MATTER is before the Court upon review of the record. IT IS HEREBY

ORDERED that a pre-settlement status conference will be held by telephone on
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February 16, 2022, at 10:00 a.m. Parties shall call Judge Garza’s AT&T

Teleconference line at (877) 810-9415, follow the prompts, and enter the Access Code

7467959, to be connected to the proceedings.

      IT IS SO ORDERED.


                                THE HONORABLE CARMEN E. GARZA
                                CHIEF UNITED STATES MAGISTRATE JUDGE
